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                                DECLARATION OF KARA BOYD

        My name is Kara Boyd. I am over the age of 18 and fully competent to make this

declaration.

        1.      I am the Founder and President of AAIF. I am authorized to speak about AAIF’s

activities relating to this matter.

        2.      I am a farmer and an enrolled member of the Lumbee Tribe of North Carolina. I

co-manage 1,500 acres of a family farm that includes farmland in the towns of Boydton,

Baskerville, and Bracey in southern Virginia. On these farms, I grow crops such as hemp and

vegetables; I also raise swine, poultry, and goats.

        3.      AAIF is non-profit, membership-based organization that represents the interests

of Native American farmers. AAIF has over 350 members nationwide, comprised mostly of

Native American farmers and ranchers.

        4.      AAIF invites its members to vote on the organization’s agenda items and

resolutions in annual meetings. AAIF members are represented by regional representatives at

these meetings, who vote on their constituent members’ behalf.

        5.      AAIF’s mission is focused on providing outreach, advocacy, and technical

assistance to Native American farmers and ranchers. AAIF also seeks to promote investment in

support of Native American farmers and ranchers.

        6.      AAIF’s participation in this lawsuit is an integral part of its mission to advocate

for and defend programs that provide financial assistance and support to Native American

farmers and ranchers.

        7.      In my capacity as President of AAIF, I advocated to federal legislators in early

2021 in support of legislation that would provide loan forgiveness to Native American farmers




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and ranchers. I also built support for this legislation by networking with other groups that

advocate for the interests of Native American farmers.

       8.      I am aware that AAIF has members that are eligible for financial benefits under

Sections 1005 and 1006 of the American Rescue Plan Act and that they would be injured should

this lawsuit enjoin those laws.

       I declare under penalty of perjury that the foregoing is true and correct.



Executed on:      June 8, 2021
                                                      KARA BOYD
                                                      Founder & President
                                                      Association of American Indian Farmers




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                                          EXHIBIT 2
